EXHIBIT C
                                                                                                                                Offense Case #
                                          Harford County Sheriff's Office                                                       201500154261
                                                                                                                                                                                                         Page       1     of   4

                                                     Incident Report
                                                                                                                                Report Type
                                                                                                                                Incident Report
                                                                                                                                Date / Time Occurred                                            Date / Time Reported
                                                                                                                                5/1/2015 06:00             to     6/23/2015 14:00               6/23/2015 14:31
Arrested Suspects Additional Suspects Unknown Suspects                Victims        Other Persons             Vehicles              Items        Evidence Count       Leoka Count               Related Case #
                                                                                            2                           1
Bias Crime                                                Arson                                                     Damage Value


                                                                                                             Incident Details
Unit Number                 Clearance Disposition                                                               Cleared by Exception                                                      Case Status
                            OPEN INVESTIGATION
Situation Found
H15 THEFT-OTHER
                                                                                                            Incident Address
House No.                       Prefix              Street Name
2703                                                PULASKI HWY
Unit No.                 City                                                State                                                 Zip                     Post
                         EDGEWOOD                                                                                                                          POST 14
                                                                                                            Administrative Info
Reporting Officer                              Employee Number               Employee Rank                                               Approving Supervisor
BLUBAUGH , JUSTIN                              S644                                                                                      WOLF ,DAWN MICHELLE
Attachments


OFFENSE               Primary Offense

Report Offense
THEFT $200 +/SHOPLIFTING
Offense Code Value                                                                                                Attempted Completed
0613                                                                                                              COMPLETED
Premise                                                     Circumstances                                                                            Domestic Violence
OTHER (COMMERICAL)                                                                                                                                   NO
Criminal Activity


Gang Activity


Gang Type #1                                                                                    Gang Name #1


Gang Type #2                                                                                    Gang Name #2


Drug Related                               Drug Type
UNKNOWN
MO Panel
Entry Type                                                             Entry Point                                                             Instrument Used


Weapon


SUSPECT             Known                Unknown           Arrested

Last Name                                                                                                  First Name                                 Middle Name                            Nickname
HUMES                                                                                                      PATRICK                                    VINCENT
Race                                                Sex                         SSN                     Date of Birth                    Age                               Age Range                         Weight
                                                    MALE                                                03/25/1955                       60                                     to                                250
Height              Driver's License #                            DL State                                              Place of Birth                                                    SID
5'10"               H520676847239                                 MARYLAND
Marital Status

Preferred                       Home Phone                         Cell Phone                        Email Address
                                                                   443-903-7495
                                                                                                            Suspect Address
House No.                       Prefix              Street Name
34                                                  MAIN STREET (PO BOX 137)
Unit No.                 City                                                                   State                                               Zip
                         RAILROAD                                                               PENNSYLVANIA                                        17355
                                                                                                          Suspect Work Address
                                                     Employer / School                                                                        Occupation
         Student

House No.                       Prefix              Street Name


Unit No.                 City                                                                   State                                               Zip

                                                                                                                  Details
Work Phone                                                  Hours of Employment              Hair Color                                        Hair Length                    Eye Color
                                                                                                                                                                                                                    Glasses
                                                                       to
Facial Hair                          Voice                                      Complexion                          Ethnicity                                Citizenship                         Teeth Descriptor
                                                                                                                    OTHER / NON-HISPANIC
Build
                                                                                            DEF. DOC. NO. 000001
                                                                                                                                 Offense Case #
                                          Harford County Sheriff's Office                                                        201500154261
                                                                                                                                                                                                                Page       2     of   4

                                                        Incident Report
                                                                                                                                 Report Type
                                                                                                                                 Incident Report
                                                                                                                                 Date / Time Occurred                                                 Date / Time Reported
                                                                                                                                 5/1/2015 06:00                to    6/23/2015 14:00                  6/23/2015 14:31
Build                           Hand Preference                  Shirt                             Jacket                              Pants                           Shoes                             Hat


Clothing Description




SUSPECT            Known                 Unknown             Arrested

Last Name                                                                                                    First Name                                  Middle Name                               Nickname
SCHNEIDER                                                                                                    BRYAN                                       LEE
Race                                               Sex                             SSN                   Date of Birth                       Age                               Age Range                            Weight
CAUCASIAN                                          MALE                            XXX-XX-XXXX           09/17/1986                          28                                     to                                 185
Height             Driver's License #                                DL State                                            Place of Birth                                                         SID
6'01"              S536098497721                                     MARYLAND                                            MARYLAND                                                               PI-MD3100170
Marital Status

Preferred                      Home Phone                             Cell Phone                     Email Address
                               443-903-8004                           516-268-5524                   BRYANSCHNEIDER408@GMAIL.COM
                                                                                                              Suspect Address
House No.                      Prefix                  Street Name
2104                                                   MARK ST
Unit No.                City                                                                    State                                                   Zip
                        BELAIR                                                                  MARYLAND                                                21015
                                                                                                            Suspect Work Address
                                                        Employer / School                                                                         Occupation
         Student

House No.                      Prefix                  Street Name


Unit No.                City                                                                    State                                                   Zip

                                                                                                                   Details
Work Phone                                                    Hours of Employment              Hair Color                                          Hair Length                    Eye Color
                                                                                                                                                                                                                           Glasses
                                                                         to                    BROWN                                                                              HAZEL
Facial Hair                         Voice                                          Complexion                        Ethnicity                                   Citizenship                            Teeth Descriptor
                                                                                                                     OTHER / NON-HISPANIC                        UNITED STATES
Build                           Hand Preference                  Shirt                             Jacket                              Pants                           Shoes                             Hat


Clothing Description




 OTHER           Person Type
PERSON           REPORTEE
Last Name                                                                                                                        First Name                                               Middle Name
ADAMS                                                                                                                            WILLIAM
Nickname
BILL
Race                                               Sex                             SSN                   Date of Birth                       Age                               Age Range
                                                                                                                                                                                     to
Weight                  Height                     Driver's License #                                DL State                                                       Place of Birth


Preferred                      Home Phone                             Cell Phone                     Email Address
CELL PHONE                                                            443-600-7428                   WILLIAM_M_ADAMS@HOMEDEPOT.COM
                                                                                                        Other Person Home Address
House No.                      Prefix                  Street Name                                                                                             Unit No.


City                                                        State                                                                Zip

                                                                                                    Other Person Employer Address
                                                 Employer / School                                                                          Occupation
   Student

House No.                      Prefix              Street Name
5325                                               NOTTINGHAM DRIVE
                        City                                                    State                                               Zip
Unit No.
                        NOTTINGHAM                                              MARYLAND                                            21236
                                                                                                                   Details
Work Phone                                                    Hours of Employment                                               Hair Color                                        Hair Length
                                                                                                                                                                                                                           Glasses
443-425-1617                                                            to
Eye Color                        Build                                           Facial Hair                                        Voice                                                  Complexion


Citizenship                                Ethnicity
                                                                                               DEF. DOC. NO. 000002
                                                                                                                                    Offense Case #
                                           Harford County Sheriff's Office                                                          201500154261
                                                                                                                                                                                                                     Page   3     of   4

                                                          Incident Report
                                                                                                                                    Report Type
                                                                                                                                    Incident Report
                                                                                                                                    Date / Time Occurred                                                     Date / Time Reported

Citizenship                                 Ethnicity
                                                                                                                                    5/1/2015 06:00                  to   6/23/2015 14:00                     6/23/2015 14:31

 OTHER          Person Type
PERSON          REPORTEE
Last Name                                                                                                                            First Name                                                 Middle Name
ORNDORFF                                                                                                                             CLINT                                                      MICHAEL
Nickname

Race                                                     Sex                           SSN                    Date of Birth                      Age                            Age Range
CAUCASIAN                                                MALE                                                 01/14/1981                         34                                       to
Weight                   Height                          Driver's License #                                 DL State                                                     Place of Birth


Preferred                       Home Phone                               Cell Phone                         Email Address
                                443-456-7080                             443-456-7080

                                                                                                             Other Person Home Address
House No.                       Prefix                    Street Name                                                                                               Unit No.
414                                                       CONSTANT FRIENDSHIP BLVD
City                                                             State                                                              Zip
ABINGDON                                                         MARYLAND                                                           21009
                                                                                                           Other Person Employer Address
                                                    Employer / School                                                                            Occupation
    Student
                                                    LOWES                                                                                        LP MANAGER
House No.                       Prefix                   Street Name
414                                                      CONSTANT FRIENDSHIP BLVD
                         City                                                     State                                                  Zip
Unit No.
                         ABINGDON                                                 MARYLAND                                               21009
                                                                                                                         Details
Work Phone                                                        Hours of Employment                                               Hair Color                                       Hair Length
                                                                                                                                                                                                                            Glasses
                                                                            to
Eye Color                         Build                                             Facial Hair                                          Voice                                                   Complexion


Citizenship                                 Ethnicity
                                            OTHER / NON-HISPANIC
                   Vehicle Year           Make                                                 Model                                           VIN                                                                   Tag Number
 VEHICLE
                                          CHEVROLET                                                     TRAIL BLAZER(                                                                          VIN Validation Off    JPP8908


State                                            Tag Expiration Year                        Body Style                                         Color 1
          PENNSYLVANIA                                                                                                                                          WHITE
Vehicle Type                                                                                           Involvement
AUTOS                                                                                                  SUSPECTS VEHICLE
                                                                                                                     Other Identifiers


Value                   Registered Owner Name (Last, First, MI)                                                                          Sex               Race                                DOB
                        Control Script failed for control txtregOwner1 , Source=regOwner
House No.                         Prefix                                      Street Name                                                                                                      Unit No.


City                                                                                   State                                                                  Zip


Insurance Company                                                                       Policy Number                                                Financed By/Titleholder


                                                                   Description
       Stolen        Recovered                   Other

Keys in Ignition        Doors Locked               Windows Closed             Ignition Locked
        Yes     No          Yes            No              Yes       No          Yes           No
Evidence of Stripping / Tampering                        Recovered By                                   Recovery Date                    Recovered Value                 Recovery Code


Disposition                                                               Battery in Car                Spare Tire in Car          Owner Notified
                                                                                 Yes        No               Yes         No               Yes        No

Narrative Information
    On June 23rd, 2015, Cpl. Blubaugh was notified by Bill Adams (Organized Retail Crimes Investigator for the Northern Division for The Home Depot) that two
suspects who were utilizing a white Chevrolet Trail Blazer with PA tags JPP8908 had been stealing items consistently from Home Depots through out Harford
County going back to the beginning of May 2015.

      Mr. Adams identified the suspects when one of them was caught at the Bel Air Home Depot on June 22nd, 2015. Refer to Bel Air Police Departments CC
#201500153033 and Harford County Sheriff's Office CC #201500130322 for further on the arrests. The suspects were identified as Patrick Humes and Bryan
Schneider.


                                                                                                    DEF. DOC. NO. 000003
     It was determined that Mr. Humes and Mr. Schneider also stole items from the Lowes in Abingdon and several other stores in Harford County. Mr. Humes
and Mr. Schneider pawned the items they stole to several pawn shops in Harford County and Baltimore County.
                                                                                   Offense Case #
                            Harford County Sheriff's Office                        201500154261
                                                                                                                                    Page   4   of   4

                                   Incident Report
                                                                                   Report Type
                                                                                   Incident Report
                                                                                   Date / Time Occurred                     Date / Time Reported
                                                                                   5/1/2015 06:00    to   6/23/2015 14:00   6/23/2015 14:31
and Mr. Schneider pawned the items they stole to several pawn shops in Harford County and Baltimore County.

      Investigation continues.




                                                             DEF. DOC. NO. 000004
